                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       CASE NO. 3:12-00137
                                                   )       JUDGE SHARP
PATRICIA BARRETT [5]                               )
                                                   )


                                          ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing (Docket No.

140) to which the Government does not oppose.

       The motion is GRANTED and the sentencing hearing set for September 20, 2013, is

hereby rescheduled for Friday, October 18, 2013, at 2:30 p.m.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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